Case 2:05-cr-20054-.]DB Document 50 Filed 05/27/05 Page 1 of 3 Page|D 57

IN THE UNITED STATES DISTRICT coURT F"'EE`
FOR THE wEsTERN DISTRICT oF TENNESSEE h
wESTERN DIvIsION ‘ 51 ,¢»1:” _»:

 

 

 

UNITED STATES OF AMERICA

Plaintiff,

Criminal No. CZB§ Z&glzq Ml

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v. )

r*) )
. 1 ' ) (30-Day Continuance)
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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated. by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good causer this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the June, 2005,
criminal rotation calendar, but is now RESET for report at QiQQ
a.m. on Fridav, June 24, 2005, With trial to take place on the
July, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through July 15, 2005. Agreed in open court at

report date this 27th day of May, 2005.

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W.m sue -¢;; ami/or 32(b) FRch on 5' 'U

Case 2:05-cr-20054-.]DB Document 50 Filed 05/27/05 Page 2 of 3 Page|D 58

SO ORDERED this 27th day Of May, 2005.

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JON PHIPPS MCCALLA
UNI ED STATES DISTRICT JUDGE

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Assistant United States Attorney

 

 

 

 

Counsel for Defendant(s)

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
case 2:05-CR-20054 Was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

